                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


JULIAN GREEN, EUGENE IVEY and JAMES
P. MCKENNA, individually and on behalf of all
others similarly situated,

                     Plaintiffs,
v.                                                    Docket No: 1:21-cv-11504

SIRCHIE ACQUISITION CO. LLC AND
PREMIER BIOTECH, INC.,

                     Defendants.


                  SIRCHIE ACQUISITION CO. LLC’S ANSWER TO
                PLAINTIFFS’ FIRST AMENDED CLASS COMPLAINT,
                      CROSS-CLAIM, AND JURY DEMAND

       Defendant Sirchie Acquisition Co. LLC (“Sirchie”) hereby responds to Plaintiffs Julian

Green’s and Eugene Ivey’s First Amended Class Complaint, as follows:

                                     INTRODUCTION

       1.     Denied.

       2.     Denied.

       3.     Denied.

       4.     Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 4 of the First Amended Class

                               JURISDICTION AND VENUE

       5.     Admitted.

                                         PARTIES

       6.     Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 6 of the First Amended Class Complaint.
       7.      Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 7 of the First Amended Class Complaint.

       8.      Mr. McKenna is no longer a plaintiff to this action. Therefore, a response to

Paragraph 8 of the First Amended Class Complaint is no longer required.

       9.      Ms. Newman-Polk is no longer a plaintiff to this action. Therefore, a response to

Paragraph 9 of the First Amended Class Complaint is no longer required.

       10.     Admitted to the extent that Sirchie is a Delaware corporation with a principal place

of business in North Carolina. Sirchie denies the remaining allegations.

       11.     Denied.

       12.     Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 12 of the First Amended Class Complaint.

       13.     Denied.

                                             FACTS

   A. Sirchie’s Test

       14.     Denied.

       15.     Denied.

       16.     Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 16 of the First Amended Class Complaint.

       17.     Denied.

               1. Sirchie’s NARK 20023 Tests Yield a High False Positive Rate

       18.     Denied.

       19.     Denied.

       20.     Denied.



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       21.    Denied.

       22.    Denied.

              2. Sirchie’s NARK 20023 Tests Cannot Identify Most Synthetic
                 Cannabinoids in Circulation

       23.    Denied.

       24.    Denied.

       25.    Denied.

       26.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 26 of the First Amended Class Complaint.

   B. Sirchie’s Inadequate Training

       27.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 27 of the First Amended Class Complaint.

       28.    Denied.

   C. Premier Biotech Sells Sirchie Tests to the DOC

       29.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 29 of the First Amended Class Complaint.

       30.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 30 of the First Amended Class Complaint.

       31.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 31 of the First Amended Class Complaint.

       32.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 32 of the First Amended Class Complaint.

   D. Sirchie and Premier Biotech Know or Should Have Known that the DOC is
      Imposing Punishment Solely on the Basis of Sirchie’s Faulty Tests



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       33.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 33 of the First Amended Class Complaint.

       34.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 34 of the First Amended Class Complaint.

       35.    Denied.

       36.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 36 of the First Amended Class Complaint.

       37.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 37 of the First Amended Class Complaint.

       38.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 38 of the First Amended Class Complaint.

   E. Plaintiffs and Plaintiff Classes Have Suffered Substantial Injuries as a Result
      of Defendants’ Wrongful Conduct

       1. The DOC used Sirchie’s test to falsely accuse Mr. McKenna, a preeminent
          defense attorney, of sending drugs to a client

       39.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 39 of the First Amended Class Complaint.

       40.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 40 of the First Amended Class Complaint.

       41.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 41 of the First Amended Class Complaint.

       42.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 42 of the First Amended Class Complaint.




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       43.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 43 of the First Amended Class Complaint.

       44.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 44 of the First Amended Class Complaint.

       45.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 45 of the First Amended Class Complaint.

       46.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 46 of the First Amended Class Complaint.

       47.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 47 of the First Amended Class Complaint.

       48.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 48 of the First Amended Class Complaint.

       49.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 49 of the First Amended Class Complaint.

       50.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 50 of the First Amended Class Complaint.

       51.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 60 of the First Amended Class Complaint.

       2. The DOC used Sirchie’s test to falsely accuse and punish Plaintiff Green for
          legal mail sent by the Boston College Innocence Program

       52.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 52 of the First Amended Class Complaint.

       53.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 53 of the First Amended Class Complaint.

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       54.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 54 of the First Amended Class Complaint.

       55.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 55 of the First Amended Class Complaint.

       56.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 56 of the First Amended Class Complaint.

       57.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 57 of the First Amended Class Complaint.

       58.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 58 of the First Amended Class Complaint.

       59.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 59 of the First Amended Class Complaint.

       60.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 60 of the First Amended Class Complaint.

       3. The DOC used Sirchie’s test to falsely accuse Plaintiff Newman-Polk of sending
          drugs to her client, Plaintiff Ivey, resulting in his immediate punishment and
          jeopardizing a favorable parole decision

       61.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 61 of the First Amended Class Complaint.

       62.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 62 of the First Amended Class Complaint.

       63.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 63 of the First Amended Class Complaint.




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       64.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 64 of the First Amended Class Complaint..

       65.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 65 of the First Amended Class Complaint.

       66.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 66 of the First Amended Class Complaint.

       67.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 67 of the First Amended Class Complaint.

       68.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 68 of the First Amended Class Complaint.

       69.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 69 of the First Amended Class Complaint.

       70.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 70 of the First Amended Class Complaint.

       71.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 71 of the First Amended Class Complaint.

                                 CLASS ALLEGATIONS

       72.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 72 of the First Amended Class Complaint.

       73.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 73 of the First Amended Class Complaint.

       74.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 74 of the First Amended Class Complaint.



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       75.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 75 of the First Amended Class Complaint..

       76.    Sirchie is without sufficient knowledge to either admit or deny the allegations

contained in Paragraph 76 of the First Amended Class Complaint.

   A. Each Class meets the requirements for certification

       77.    Denied.

       78.    Denied.

       79.    Denied.

       80.    Denied.

       81.    Denied.

       82.    Denied.

       83.    Denied.

       84.    Denied.

                                           Count I

                                         Negligence
                    On Behalf of the Recipient Class and the Sender Class
                                  Against Defendant Sirchie

       85.    Sirchie restates and incorporates herein its answers to Paragraphs 1 to 84 of the

First Amended Complaint.

       86.    Denied.

       87.    Denied.

       88.    Denied.

       89.    Denied.

                                          Count II



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                                           Negligence
                      On Behalf of the Recipient Class and the Sender Class
                              Against Defendant Premier Biotech

       90.     Sirchie restates and incorporates herein its answers to Paragraphs 1 to 89 of the

First Amended Complaint.

       91.     Sirchie neither admits nor denies the allegations contained in Paragraph 91 of the

First Amended Complaint as said allegations do not pertain to Sirchie. To the extent said

allegations call for a responsive pleading they are denied and Sirchie calls upon Plaintiffs to prove

the same.

       92.     Sirchie neither admits nor denies the allegations contained in Paragraph 92 of the

First Amended Complaint as said allegations do not pertain to Sirchie. To the extent said

allegations call for a responsive pleading they are denied and Sirchie calls upon Plaintiffs to prove

the same.

       93.     Sirchie neither admits nor denies the allegations contained in Paragraph 93 of the

First Amended Complaint as said allegations do not pertain to Sirchie. To the extent said

allegations call for a responsive pleading they are denied and Sirchie calls upon Plaintiffs to prove

the same.

       94.     Sirchie neither admits nor denies the allegations contained in Paragraph 94 of the

First Amended Complaint as said allegations do not pertain to Sirchie. To the extent said

allegations call for a responsive pleading they are denied and Sirchie calls upon Plaintiffs to prove

the same.

       95.     Sirchie neither admits nor denies the allegations contained in Paragraph 95 of the

First Amended Complaint as said allegations do not pertain to Sirchie. To the extent said




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allegations call for a responsive pleading they are denied and Sirchie calls upon Plaintiffs to prove

the same.

                                            COUNT III

      Violation of the Massachusetts Consumer Protection Act, Mass. Gen. Laws. Ch. 93A
                      On Behalf of the Recipient Class and the Sender Class
                                    Against Defendant Sirchie

       96.     Sirchie restates and incorporates herein its answers to Paragraphs 1 to 95 of the

First Amended Complaint.

       97.     Denied.

       98.     Denied.

       99.     Denied.

       100.    Denied.

       101.    Denied.

       102.    Denied.

       103.    Denied.

       104.    Denied.

                                            COUNT IV

      Violation of the Massachusetts Consumer Protection Act, Mass. Gen. Laws. Ch. 93A
                      On Behalf of the Recipient Class and the Sender Class
                              Against Defendant Premier Biotech

       105.    Sirchie restates and incorporates herein its answers to Paragraphs 1 to 104 of the

First Amended Complaint.

       106.    Sirchie neither admits nor denies the allegations contained in Paragraph 106 of the

First Amended Complaint as said allegations do not pertain to Sirchie. To the extent said




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allegations call for a responsive pleading they are denied and Sirchie calls upon Plaintiffs to prove

the same.

       107.    Sirchie neither admits nor denies the allegations contained in Paragraph 107 of the

First Amended Complaint as said allegations do not pertain to Sirchie. To the extent said

allegations call for a responsive pleading they are denied and Sirchie calls upon Plaintiffs to prove

the same.

       108.    Sirchie neither admits nor denies the allegations contained in Paragraph 108 of the

First Amended Complaint as said allegations do not pertain to Sirchie. To the extent said

allegations call for a responsive pleading they are denied and Sirchie calls upon Plaintiffs to prove

the same.

       109.    Sirchie neither admits nor denies the allegations contained in Paragraph 109 of the

First Amended Complaint as said allegations do not pertain to Sirchie. To the extent said

allegations call for a responsive pleading they are denied and Sirchie calls upon Plaintiffs to prove

the same.

       110.    Sirchie neither admits nor denies the allegations contained in Paragraph 110 of the

First Amended Complaint as said allegations do not pertain to Sirchie. To the extent said

allegations call for a responsive pleading they are denied and Sirchie calls upon Plaintiffs to prove

the same.

       111.    Sirchie neither admits nor denies the allegations contained in Paragraph 111 of the

First Amended Complaint as said allegations do not pertain to Sirchie. To the extent said

allegations call for a responsive pleading they are denied and Sirchie calls upon Plaintiffs to prove

the same.




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       112.    Sirchie neither admits nor denies the allegations contained in Paragraph 112 of the

First Amended Complaint as said allegations do not pertain to Sirchie. To the extent said

allegations call for a responsive pleading they are denied and Sirchie calls upon Plaintiffs to prove

the same.

       113.    Sirchie neither admits nor denies the allegations contained in Paragraph 113 of the

First Amended Complaint as said allegations do not pertain to Sirchie. To the extent said

allegations call for a responsive pleading they are denied and Sirchie calls upon Plaintiffs to prove

the same.

       WHEREFORE, Sirchie demands that Plaintiffs’ First Amended Class Complaint against it

be DISMISSED with prejudice, that Sirchie recovers its reasonable attorneys’ fees and costs, and

that the Court grant such further relief that it deems just and appropriate.

                                       Affirmative Defenses

                                    First Affirmative Defense

       The First Amended Class Complaint fails to state a claim for which relief can be granted.

                                   Second Affirmative Defense

       All claims are barred due to the statute of repose and/or the statute of limitations.

                                    Third Affirmative Defense

       Plaintiffs’ alleged damages were caused by the acts and/or omissions of third-parties over

whom Sirchie exercised no control and for whose conduct Sirchie is not responsible.

                                   Fourth Affirmative Defense

       Plaintiffs’ claims are barred by the doctrines of laches, waiver and estoppel.

                                    Fifth Affirmative Defense




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       Plaintiffs’ claims are barred or should be reduced due to the fact that Plaintiff failed to

mitigate its damages, if any.

                                    Sixth Affirmative Defense

       Plaintiffs’ claims are barred due to the fact that no act or omission by Sirchie has caused

Plaintiffs’ damages, if any.

                                   Seventh Affirmative Defense

       The injury or damage complained of was caused in whole or in part by the negligence of

Plaintiffs and that such negligence equaled or exceeded any negligence on the part of Sirchie.

                                    Eighth Affirmative Defense

        Plaintiffs’ alleged damages were caused by a superseding, intervening act, which was

beyond the knowledge and control of Sirchie.

                                    Ninth Affirmative Defense

       Plaintiffs’ claims are barred from recovery in whole or in part because of their own

comparative negligence.

                                    Tenth Affirmative Defense

       Plaintiffs’ claims are barred as no duty is owed to Plaintiffs by Sirchie.

                                Cross-Claim Count I – Contribution
                                    (Against Premier Biotech)

       1.      Plaintiffs have alleged in their First Amended Complaint that Sirchie is liable to

Plaintiffs for damages arising out of Premier’s alleged negligence. Sirchie denies all liability.

       2.      If judgement enters against Sirchie, Sirchie is entitled to contribution from Premier

Biotech.

       WHEREFORE, Sirchie demands contribution from Premier Biotech, as is provided by

M.G.L. c. 231B.

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                    Cross-Claim Count II – Common Law Indemnification
                                 (Against Premier Biotech)

       3.      Sirchie re-alleges paragraphs 1-2 of its Cross-Claim.

       4.      If Sirchie is found liable to Plaintiffs, which it denies, then any such liability will

be derivative only and will result from the acts or omissions of Premier Biotech, without any active

negligence of Sirchie.

       WHEREFORE, Walker demands judgment against Premier Biotech for common law

indemnity, together with its attorneys’ fees, costs, and interest as provided by law.

                                          Jury Demand

       Sirchie demands a trial by jury on all of Plaintiffs’ claims.

                                              Respectfully submitted,

                                              SIRCHIE ACQUISITION CO. LLC
                                              By its attorneys,

                                              /s/ Joseph M. Gesker, Jr.
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Dated: October 27, 2022                       F: 857-313-3951




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                                CERTIFICATE OF SERVICE

        I, Joseph M. Gesker, Jr., hereby certify that on October 27, 2022, a true and correct copy
of the within document was served on all parties via the Electronic Case Filing System.

                                             /s/ Joseph M. Gesker, Jr.
                                             Joseph M. Gesker, Jr.




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